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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

LEONEL NUNEZ, # 37174-037                                   *

Petitioner                                                  *             Civil Action No. PJM-10-2506
                                                                          Criminal Action No. PJM-01-533
v                                                           *

UNITED STATES OF AMERICA                                    *

Respondent                                        *
                                                 ***
                                          MEMORANDUM OPINION


         Before the Court is a 28 U.S.C. §2255 Motion to Vacate Set Aside or Correct filed pro se

by federal inmate Leonel Nunez. For reasons to follow, the Court will dismiss the Motion as

time-barred.

                                                BACKGROUND

         On June 3, 2003, the Court sentenced Nunez to 262 months incarceration after he pleaded

guilty to conspiracy to distribute and possess with intent to distribute five or more kilograms of

cocaine in violation of 21 U.S.C. § 841. Nunez did not appeal.

                                          LIMITATIONS PERIOD

          A one-year statute of limitations applies to Motions to Vacate, Set Aside or Correct. See

28 U.S.C. § 2255 (f).1 For the purpose of assessing timeliness, the Court deems the § 2255


1
    This section provides:

                  A 1-year period of limitation shall apply to a motion under this
                  section. The limitation period shall run from the latest of-

                             (1) the date on which the judgment of conviction became
                             final;

                             (2) the date on which the impediment to making a
                             motion created by governmental action in violation of the
                             Constitution or laws of the United States is removed, if the
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motion filed on the date it was delivered to prison officials for mailing, August 20, 2010. See

Houston v. Lack, 487 U.S. 266 (1988); United States v. Dorsey, 988 F. Supp. 917, 919-920 (D.

Md. 1998) (rejecting limitations defense due to applicability of mail-box rule to petition filed

pursuant to 28 U.S.C. § 2255).

         A conviction becomes final for purpose of running the one-year limitations period under

28 U.S.C. § 2255(f) (1) when the time for filing an appeal for direct review expired. See Clay v.

United States, 537 U.S. 522, 525 (2003); Fed. R.App. P. 4(b)(1)(A) and 26. 2 The instant

motion was filed some six years after the limitations period elapsed and it must be dismissed as

untimely unless equitable tolling applies. Nunez was granted an opportunity to explain why

equitable tolling applies in this case. Paper No. 788. His response provides neither legal nor factual

grounds to warrant equitable tolling. Paper No. 795. Accordingly, the Motion will be dismissed as

time-barred.

         Pursuant to Rule 11(a) of the Rules Governing Section 2255 Proceedings for the United

States District Courts, this Court declines to issue a certificate of appealability. Nunez has not


                                Movant was prevented from making a motion by such
                                Governmental action;

                           (3) the date on which the right asserted was initially recognized by the
                               Supreme Court, if the right has been newly recognized by the
                               Supreme Court and made retroactively applicable to cases on
                               collateral review; or

                           (4) the date on which the facts supporting the claim or claims
                               presented could have been discovered through the exercise of due
                               diligence.
2
 Although the limitations period is an affirmative defense, a court may sua sponte dismiss a § 2255 petition as
untimely. See Hill, 277 F.3d at 705; see also Sosa, 364 F.3d 510 n. 4 (4th Cir. 2004) (applying the holding in Hill v.
Braxton to motions under § 2255). The court's sua sponte consideration of the limitations period is consistent with
Rule 4(b) of the Federal Rules governing § 2255 cases, which provides that a court shall dismiss a motion if it
plainly appears that the moving parts is entitled to no relief, even in the absence of a responsive pleading from the
government.

                                                          2
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made a substantial showing of a denial of a constitutional right. See 28 U.S.C. § 2253(c)(2);

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court's assessment of the

constitutional claims debatable or wrong) (citing Slack v. McDaniel, 529 U.S. 473, 484 (2000)).

                                         Conclusion

        The Petition will be dismissed as time-barred by separate Order.


                                                                /s/
                                                           PETER J. MESSITTE
October 29, 2010                                     UNITED STATES DISTRICT JUDGE




                                                 3
